             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 1 of 37




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF WYOMING


JIENNAH MCCOLLUM, ROICE JOLEEN                      Case No. ______________
MCCOLLUM, AND CHEYENNE
MCCOLLUM,

                             Plaintiffs,            COMPLAINT

               - against -                          (Jury Trial Demanded)

ALEC BALDWIN

                             Defendant.

       Plaintiffs, Jiennah McCollum (“JIENNAH”), Roice Joleen McCollum (“ROICE”), and

Cheyenne McCollum (“CHEYENNE”), (“Plaintiffs”), by and through their undersigned counsel,

as and for their Complaint against Defendant Alec Baldwin (“BALDWIN” and/or “Defendant”),

respectfully allege as follows:

                                           BACKGROUND

       1.      Twenty-year-old Marine Lance Corporal Rylee J. McCollum (“LCPL

McCOLLUM”) was killed in action on August 26, 2021, in Kabul, Afghanistan when a suicide

bomber attacked his unit while he was processing Afghanistan refugees. His widow, JIENNAH,

gave birth to their daughter, LRRM, in 2021. In addition to his wife and child, LCPL McCOLLUM

is survived by his father, Jim McCollum, and his sisters, CHEYENNE and ROICE.

       2.      ALEC BALDWIN is an actor and political activist with a history of verbal threats

and combative, confrontational behavior with many individuals, including members of his own

family. As detailed below, Defendant’s publication of false allegations against PLAINTIFFS to

his 2.4 million Instagram followers constitutes, at minimum, an egregious violation of Plaintiffs’

right to privacy by false light and intrusion upon seclusion, defamation, defamation per se,



                                              -1-
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 2 of 37




defamation by implication, negligence, gross negligence, and intentional infliction of emotional

distress.

        3.      Plaintiffs file this suit against BALDWIN seeking actual and punitive damages set

forth below.

                                   JURISDICTION & VENUE

        4.       This Court has original jurisdiction pursuant to 28 U.S.C. § 1332 because Plaintiffs

and Defendant are citizens of different states. This Court also has subject matter jurisdiction the

amount in controversy exceeds seventy-five thousand dollars ($75,000.00).

        5.      As set forth immediately below, Plaintiffs JIENNAH, ROICE, and CHEYENNE,

are and at all times relevant to this action have been, private American citizens.

        6.      BALDWIN is an individual residing in New York, New York.

        7.      Venue is proper in the United States District Court for the District of Wyoming

pursuant to 28 U.S.C. § 1391 because a substantial part of the events or omissions giving rise to

these claims occurred in Jackson, Teton County, Wyoming.

                                             PARTIES

Plaintiffs

        8.      Plaintiff JIENNAH MCCOLLUM is an individual, the widow of Lance Corporal

Rylee McCollum, the biological mother of their child, LRRM, and is currently residing in the State

of California in the process of moving to the State of Wyoming.

        9.      Plaintiff ROICE MCCOLLUM is the surviving sister of Rylee McCollum and an

individual residing in the State of Wyoming.

        10.     Plaintiff CHEYENNE MCCOLLUM is the surviving sister of Rylee McCollum

and an individual residing in the State of Wyoming.



                                                -2-
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 3 of 37




       Defendant

       11.     Defendant ALEC BALDWIN is an individual residing in the State of New York.

He may be served with process at his residence at the Devonshire Building at 28 East 10th Street,

New York, New York 10003 or wherever he may be found.

                                  FACTUAL ALLEGATIONS

Alec Baldwin

       12.     BALDWIN is one of the most recognized celebrities in the United States. He has

been in the public eye since 1980 and has unapologetically used his notoriety to voice his political

views and to forward his own agenda. During his career BALDWIN has appeared in many feature

films, television series, and commercials. Currently, he is widely known for his unflattering parody

of President Donald Trump on Saturday Night Live in addition to his anti-conservative political

views. He is a very outspoken liberal Democrat who routinely voices his despisal of the

Republican party and, in particular, President Trump to his supporters via social media and

anywhere else he can find an audience. BALDWIN’s fame has allowed him to amass a fortune

estimated at $60 million dollars. He currently resides in New York where he splits time between

the multiple apartments he owns in the Devonshire Building in Manhattan and his beach home in

The Hamptons.

       13.     BALDWIN has a long history of combative behavior with the press, the law, his

ex-wife, his family, his children, politicians, and virtually anyone who crosses him. He has

assaulted multiple people physically and verbally and is as well-known for his impulsivity and

quick temper as he is for any role he has played.

       14.     BALDWIN has 2,400,000 followers on Instagram and regularly posts videos and

pictures featuring his political opinions, musings, anecdotes, and family outings. His Instagram



                                               -3-
                Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 4 of 37




account is @alecbaldwininsta. He is active on other platforms such as Twitter and has a podcast

entitled “Here’s the Thing with Alec Baldwin.” BALDWIN also regularly uses these platforms to

encourage and incite his followers to support various causes and to be politically and socially

active.

The McCollum Family

          15.    LCPL Rylee McCollum was born in Riverton, Wyoming and moved to Jackson,

Wyoming at the age of six with his father, Jim, and his sisters, CHEYENNE and ROICE. On his

18th birthday, Rylee fulfilled a lifelong dream by enlisting in the United States Marine Corps. He

graduated Marine Corps boot camp in December of 2019 and married JIENNAH on February 14,

2021. Rylee was deployed to Jordan in April of 2021 with the 2nd Battalion, 1st Marines. He was

killed by an improvised explosive device on August 26, 2021, in Kabul, Afghanistan while his unit

processed Afghan refugees. He never met and will never meet his daughter, LRRM, a beautiful

and healthy girl who was born on September 13, 2021.

          16.    LCPL McCOLLUM’s sisters, ROICE and CHEYENNE, reside in Wyoming.

ROICE, 22, is beginning her career as a life and wellness coach. CHEYENNE, 29, is a mother of

a two-year old daughter and an office manager for a local Ob/Gyn. All three McCollum siblings

shared a love of the outdoors and spent quality time together at their grandfather’s cabin. Both

sisters were very close to their brother and were and continue to be devastated by his death and the

void in their lives caused his absence. In short, LCPL McCOLLUM is the McCollum family’s

hero, and the pain of his death will never heal.

          17.    All members of the McCollum family share a deep and abiding love of the United

States of America. Jim McCollum, the family patriarch, instilled his love of country into his

children from birth. Like many people in Wyoming, the members of the family share conservative



                                                   -4-
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 5 of 37




values as their core beliefs and believe strongly in the United States Constitution and the freedoms

it guarantees. Jim, Roice, and Cheyenne could not have been prouder of their son and brother

when he enlisted in the Marines. Jiennah was honored to be the wife of a Marine. That pride

continues to this day in spite of their loss.

Facts Preceding Baldwin’s Abhorrent Conduct

        18.     On or about January 3, 2022, Plaintiff ROICE posted a photo of a crowd of

demonstrators at the Washington Monument on her Instagram page in anticipation of the January

6, 2022, one-year anniversary of her attendance at the Washington, D.C. demonstration to protest

what many people viewed as the fraudulent election of Joseph Biden as President of the United

States. It is well-publicized that the demonstration, which was attended by hundreds of thousands

of people, included unlawful rioting and entry into the United States Capitol Building by a couple

of thousand people. The prosecution of those persons is ongoing. However, the majority of

individuals that attended the demonstration did so in a peaceful, law-abiding manner, including

ROICE.

        19.     While she was present at the demonstration, ROICE did not take part in, nor did

she support or condone the rioting that erupted. During the rioting, she was stuck in place outside

the Capitol Building next to multiple police officers for hours after the rioting began due to the

fact that so many people were around her and the area had been locked down. Later, a neighbor

who was unhappy that ROICE attended the demonstration turned her in to the authorities. ROICE

was interviewed by the FBI after the event and was cleared of any wrongdoing. She was never

detained, arrested, accused of or charged with any crime. Like the overwhelming majority of

attendees, ROICE, a politically conscious 22-year-old, went to Washington, D.C. to exercise her

First Amendment rights of free assembly and free speech, nothing more. Neither CHEYENNE



                                                -5-
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 6 of 37




nor JIENNAH was present in Washington, D.C. on January 6, 2021.

Baldwin Gets Triggered

        20.      After LCPL McCOLLUM was killed in Afghanistan, a GoFundMe account was

started on behalf of JIENNAH and her soon-to-be-born daughter. BALDWIN apparently became

aware of her identity and sent ROICE a check for JIENNAH and her child for $5,000.00 as (in his

words) “a tribute to a fallen soldier.” On January 3, 2022, BALDWIN’s seemingly benevolent

overtures turned into a nightmare for the McCollum family when BALDWIN went on an

Instagram rant about LCPL McCOLLUM’s sister (ROICE) who, on January 3, 2022, posted a

photograph of people surrounding the Washington Monument at the “Make America Great Again”

protest in Washington D.C. on her Instagram feed. BALDWIN commented on ROICE’s post “Are

you the same woman that I sent the $ to for your sister’s husband who was killed during the

Afghanistan exit?” (Exhibit 1, Selected Instagram Posts, p. 1) 1

Baldwin Seeks Revenge

        21.      Upon confirmation from ROICE that she was, in fact, the sister of LCPL

McCOLLUM and the sister-in-law of JIENNAH, BALDWIN began to privately message her

accusing her of being an “insurrectionist” and telling her to “own it.”

        22.      The final private message in the chain is, inter alia, as follows:

        Baldwin: When I sent the $ for your late brother, out of real respect for his
        service to this country, I didn’t know you were a January 6th rioter.

        Roice: Protesting is perfectly legal in the country and I’ve already had my sit
        down with the FBI. Thanks, have a nice day!

        Baldwin: I don’t think so. Your activities resulted in the unlawful
        destruction of government property, the death of a law enforcement officer,


1
  These selected posts are representative of hundreds of similar, vile posts received by Plaintiffs. All non-party
Instagram handles have been redacted.


                                                      -6-
                 Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 7 of 37




           an assault on the certification of the presidential election. I reposted your
           photo. Good luck.

           (Exhibit 1, p. 2) (emphasis added).

           23.      BALDWIN is no stranger to legal troubles or social media hatred and bullying. 2

When he is not doling it to the grieving families of deceased Marines, BALDWIN has actually

been the victim of the social media mob. In late 2020, his wife, Hilaria Baldwin, was outed because

she had been holding herself out for years as a native of Mallorca, Spain; even going so far as to

use a false Spanish accent during interviews, outings, and television appearances. When it was

revealed that she was born and raised in Boston, Massachusetts and named Hillary Lynn Hayward-

Thomas to an American mother who was a physician and assistant professor at Harvard Medical

School and an American father who worked as an attorney, both BALDWIN and his wife were

heavily trolled on social media. After BALDWIN had the temerity to insult the English accent

used by American actress Gillian Anderson in her portrayal of Prime Minister Margaret Thatcher,

the social media firestorm became too much for even BALDWIN to handle. He temporarily left

social media stating in an Instagram post:

           BALDWIN: I noticed that someone said that this actress [Gillian
           Anderson] — who I won't mention — had switched accents during
           the press for her show, from her accent from another country to an
           American accent. And I just wrote, 'Oh that's interesting.' And of
           course you can't do any irony on Twitter, you can't do irony in the
           United States anymore because the United States is such an uptight,
           stressed-out place and such an unpleasant place right now. 3

           24.      As weak as that explanation seemed at the time, it would seem especially flaccid

when BALDWIN tried the same pathetic excuse to justify his posts to ROICE. He posted on the



2
    https://meaww.com/alec-baldwin-past-arrests-legal-troubles-history-rust-accident-551445
3
    https://ew.com/celebrity/alec-baldwin-quits-twitter-gillian-anderson/

                                                          -7-
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 8 of 37




public feed to ROICE @roice_wyogirl attempting to downplay the chaos he started:

         BALDWIN: @roice_wyogirl. . . Irony was my point. The irony of sincerely
         wanting to honor your brother and the fact that you are in insurrectionist.
         Irony: “the use of word that mean the opposite of what you really think
         especially in order to be funny.” (Merriam Webster).

         (Exhibit 1, p. 4)

         25.     In spite of his condescending explanation, Plaintiffs are informed and believe and

allege that BALDWIN’s past betrays his intent. BALDWIN experienced first-hand a social media

mob out for vengeance and reacted by deleting his account. Plaintiffs are informed and believe

and allege that BALDWIN not only knew what he was doing when he posted ROICE’s feed with

JIENNAH and CHEYENNE’s information on it, he also knew full well what consequences would

ensue.

         26.     Plaintiffs are informed and believe and allege that his intent was memorialized in

private messages to ROICE that BALDWIN intended to cause her (and her family) harm by

posting a false allegation that she was a “January 6th rioter” who participated “unlawful destruction

of government property, the death of a law enforcement officer, an assault on the certification of

the presidential election.” (Exhibit 1, p. 2). BALDWIN plainly ignored ROICE’s denial of rioting

and the assertion that she was cleared by the FBI for participating in any of the conduct BALDWIN

chose to falsely attribute to her via his massive following. In fact, BALDWIN was so far off base

that he failed to confirm that the “your photo” he posted was not even a picture of ROICE; rather

a picture she had taken of the crowd in front of her near the Washington Monument. (Exhibit 1, p.

1).

         27.     After the private messages with ROICE, BALDWIN published the following

message to his 2.4 million Instagram followers:




                                                -8-
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 9 of 37




       @alecbaldwininsta I will take this down tomorrow. Lots of Trumpsters chiming in
       here with the current cry that the attack on the Capitol was a protest, (a more
       peaceful form of which got a lot of other protestors imprisoned) and an exercise in
       democracy.

       That’s bullshit.

       The party that has reflexively rallied on behalf of Law enforcement-Support the
       Troops-Jesus watched the Capitol police get beaten, one killed, and called it their
       right.

       I’ve said it before. The Republican that can lead the GOP away from this maniac
       [Trump] will go down in history as a hero.

       There’s an interesting story here…

       So, I read in The Times, I believe, the story about the soldiers that died at the Kabul
       airport.

       I did some research. I found, on IG, that this woman [Roice McCollum] is the
       brother (sic) of one of the men who was killed. I offered to send her sister-in-
       law [Jiennah McCollum] some $ as a tribute to her late brother, his widow and
       their child.

       Which I did. As a tribute to a fallen soldier.

       Then I find this.

       Truth is stranger than fiction.

       (Exhibit 1, p. 3)(emphasis added).

       28.     “This” in BALDWIN’s post to his 2.4 million followers was ROICE’s Instagram

feed, @roice_wyogirl, including BALDWIN’s “insurrectionist” and “rioter” name-calling.

Plaintiffs are informed and believe and allege that in a move signaling his true intentions,

BALDWIN then messaged ROICE letting her know he forwarded the chain to his followers. He

wrote, “[y]our activities resulted in the unlawful destruction of government property, the death of

a law enforcement officer, an assault on the certification of the presidential election. I reposted

your photo. Good luck.” (Exhibit 1, p. 2)(emphasis added).



                                                -9-
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 10 of 37




        29.     Plaintiffs are informed and believe and allege that BALDWIN knew or should have

known that his name-calling and accusations were false when he sent them. ROICE had said as

much in her private message to him. This did not matter to BALDWIN. He had no information

confirming that any Plaintiff had “participated in the insurrection” or had attempted to overthrow

the United States government. The only fact that BALDWIN sought to confirm was that ROICE

was related to LCPL McCOLLUM. With that confirmation, BALDWIN felt entitled to use his

massive social media following to shame and attack ROICE and, by extension, JIENNAH and

CHEYENNE, the rest of the McCollum family, and the name of a fallen Marine. At all times

relevant, ROICE and CHEYENNE were all physically in Wyoming when the following events

occurred. JIENNAH had traveled to South Carolina for the holidays with extended family and

was set to have surgery in early January during the time of these events.

        30.     Within 20 minutes of BALDWIN’s post, ROICE began to get hostile, aggressive,

hateful messages from BALDWIN’s followers. Plaintiffs are informed and believe and allege that

unlike other passive forms of media such as billboards or commercials, social media is unique in

that people choose to “follow” other people, such as celebrities or “influencers,” as they are known.

Presumably, the choice to follow someone on social media conveys, at the very least, a desire to

read that person’s posts or, more likely, some alignment with that person’s beliefs. In this case,

BALDWIN is a very outspoken person with very strong political beliefs. Plaintiffs are informed

and believe and allege there is no question that BALDWIN is patently aware that the vast majority

of his 2.4 million Instagram followers are “fans” who care to listen to what he has to say about his

life in addition to his politics. In short, he is aware that the vast majority of his followers are

sympathetic to his political affiliation.

        31.     Plaintiffs are further informed and believe and allege that unlike other entertainers



                                               - 10 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 11 of 37




who keep their political beliefs private and are followed for their art or music, for instance, a large

part BALDWIN’s social media presence is the vocalization of his political beliefs. For example,

a person may follow a country artist who happens to be conservative because that fan is interested

in the artist’s music. In that case, the artist’s political beliefs are incidental. In BALDWIN’s case,

however, it is apparent that politics are a big part of his platform. In other words, BALDWIN’s

followers are far more likely to be as politically active and as opinionated as he is on the issues; a

fact of which BALDWIN is undoubtedly aware. Plaintiffs are informed and believe and allege

that even a shallow dive into his posts on his social media platforms confirms this statement.

       32.     By way of example, among the hundreds upon hundreds of hateful messages

ROICE began to receive one read, “Get raped and die, worthless c*nt (kiss emoji). Your brother

got what he deserved.” (Exhibit 1, p. 6). Upon receiving this message, ROICE forwarded it to

BALDWIN sarcastically “thanking” him for posting her Instagram feed. (Exhibit 1, p. 5). This

unbelievably callous message from a woman who goes by the name “Antifa Ally.” Incredibly,

even after reading it, BALDWIN actually followed Antifa Ally on Instagram. (Exhibit 1, p. 21).

BALDWIN then continued to chime in on the increasingly hostile feed saying that ROICE

“participated in the insurrection” and that she was an “insurrectionist.” (Exhibit 1, p. 7). He

continued to engage his followers. In doing so, Plaintiffs are informed and believe and allege that

he fueled the firestorm of hatred that he started.

       33.     The following is an example of BALDWIN’s engagement (and continued

incitement) with his followers not just towards ROICE, but towards JIENNAH (LCPL

McCOLLUM’s widow):

       So, you’re saying you would deny a dead man’s family help due to your political
       view?????? People like you is why I lost all faith in Democrats.

       BALDWIN: @ex********** but I didn’t say that. I gratefully supported the

                                                - 11 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 12 of 37




       gofundme campaign while simultaneously not knowing the woman I
       approached [JIENNAH MCOLLUM] is an insurrectionist.     I think
       that’s…remarkable.

       shut up. [Alec Baldwin] has no obligation to send his money to anyone in the first
       place—to find out he sent money to someone who holds responsibility for the death
       of others would be gutting. She doesn’t deserve his kindness.

       (Exhibit 1, p. 8)

       34.     BALDWIN’s message labelled JIENNAH an “insurrectionist” and clearly

communicated the fact that she was not only at the January 6, 2021, demonstration but that she

took place in the rioting. The truth is that not only was JIENNAH not present at the January 6,

2021, event, she was not yet married to LCPL McCollum, nor was she pregnant with their child at

that time. Plaintiffs are informed and believe and allege that BALDWIN’s irresponsible and

reckless comments clearly placed JIENNAH in his followers’ paths. BALDWIN lit the match and

blew on the fire.    Plaintiffs are informed and believe and allege that BALDWIN cannot

subsequently disclaim responsibility for the conflagration that ensued.

       35.     Within hours of BALDWIN’s publication of his post to his followers, Plaintiffs

CHEYENNE and JIENNAH also began receiving hateful messages and even death threats from

BALDWIN’s followers who had seen the posts.                By way of example, CHEYENNE

@chi_wyomom22 received the following messages after futile attempts to defend JIENNAH

saying that she was not present at the January 6, 2021, events:

       @chi_wyomom22: Honey, I’m having trouble reading your reply because it
       is poorly written. What I see that you’re trying to say is that your sister-in-
       law has no connection to what your sister did at the capital (sic). I know that,
       BUT they are on the same boat because it seems like [ROICE and JEINNAH]
       have a (sic) similar political stands (sic) and some people who don’t agree with
       your family on politics just wouldn’t want to support that kind of people.
       Especially if they took part in terrorism.

       Now answer the question: if you found out that the money you donated went
       to a mother and child whose husband was part of ISIS and that now widowed

                                              - 12 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 13 of 37




       mother and their family stand with ISIS you wouldn’t feel right to donate to
       them?

       (Exhibit 1, p. 18)

       That repugnant comparison was followed by:

       @chi_wyomom22 your brother fought for oil. #HopeThisHelps

       (Exhibit 1, p. 18)

       36.       Plaintiffs are informed and believe and allege that Baldwin did nothing to remedy

what he had started. These messages included the vilest allegations accusing Plaintiffs of “white

supremacy,” of dishonoring LCPL McCOLLUM’s legacy, equating them with ISIS, calling them

traitors, calling them Nazis, telling them that their brother died in vain, and imploring BALDWIN

to “get a refund” of the money he “anonymously” donated to JIENNAH and her daughter, LRRM.

(Exhibit 1, p. 9, 10, 12-21).

       37.     Plaintiffs are informed and believe and allege that at no time did BALDWIN

discourage these posts even though he was copied on many of them. At no time did he request

that his followers cease from attacking the McCollum family. At no time did he correct his false

assumptions and accusations or attempt to bring civility into the exchanges.           In fact, as

demonstrated above, he continued to refer to them as insurrectionists and allowed the attacks on

the family of a dead Marine to continue unabated. (See, e.g., Exhibit 1, p. 7, 8).

Baldwin Knows Better

       38.     BALDWIN has been a celebrity since 1980. He is well-aware of the effect and

impact of his celebrity status on his fans and his ability to sway public opinion. BALDWIN was

politically vocal and active prior to the advent of social media and has used his celebrity persona

in support of dozens of causes. Plaintiffs are informed and believe and allege that BALDWIN has

endorsed political candidates and used his fame and notoriety across various media for decades in

                                               - 13 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 14 of 37




order influence his fan base and push his ideology. In short, BALDWIN is keenly aware of the

unique platform his fame affords him and actively uses it communicate to millions of people to

further his beliefs and interests. Plaintiffs are informed and believe and allege that BALDWIN

unequivocally understood that by forwarding ROICE’s Instagram feed to 2.4 million like-minded

followers and posting his commentary would result in the onslaught of threats and hatred that it

did.

        39.     Plaintiffs are informed and believe and allege that Defendant BALDWIN’s

foregoing actions were done with the full intent of causing irreparable harm to each of the

Plaintiffs. His foreboding words to ROICE - “Good Luck” – establish his malicious intent.

Plaintiffs are informed and believe and allege that BALDWIN’s use of the words, “I will take this

down tomorrow,” in his initial post show that BALDWIN is aware that his post would violate

Instagram’s terms of service; however, he wanted that post up as long as possible. (Exhibit 1, p.

3).

        40.     Alternatively, BALDWIN’s conduct was negligent and reckless as he should have

known that making the allegations he did against Plaintiffs to his millions of followers would cause

Plaintiffs harm.   BALDWIN’s comments were false, outrageous, defamatory, irresponsible,

vindictive, and caused – and continue to cause - Plaintiffs severe emotional distress. Instead of

being able to focus on grieving LCPL McCOLLUM’s death and raising his newborn daughter,

Plaintiffs and their family are now fearful for their lives. Plaintiffs have suffered from headaches,

nausea, inability to sleep, severe anxiety, severe mental distress, fear for their lives and the life of

LRRM, and continue to suffer as a result of BALDWIN’s conduct.

Plaintiffs’ Damages

        41.     In order to fully compensate Plaintiffs for their damages and to punish, deter, and



                                                 - 14 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 15 of 37




teach BALDWIN a lesson that he frankly should have learned years ago, this lawsuit seeks money

damages in excess of Twenty-Five Million Dollars ($25,000,000.00) in actual and punitive

damages.

                  JIENNAH MCCOLLUM FIRST CAUSE OF ACTION
              (Invasion of Privacy – False Light and Intrusion Upon Seclusion)

       42.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       43.     Plaintiff JIENNAH McCollum has reviewed the Instagram posts question and has

positively identified herself as the person about whom and to whom the posts were made.

JIENNAH is not and has never been a rioter, insurrectionist, or terrorist. JIENNAH was not

present at and did not participate in the January 6, 2021, rioting, invasion of the Capitol Building,

or any other illegal conduct perpetrated by the small minority of individuals in attendance in

Washington D.C. and/or the Capitol Building on that day. BALDWIN’s accusations are patently

false and unreasonably placed JIENNAH in a false light before the public. The posts from his

followers in response to his are direct evidence of this false light. Shortly after BALDWIN’s

“good luck” post, all Plaintiffs were accused of being associated with ISIS, being terrorists, rioters,

anti-American, and the list continues. (Exhibit 1, p. 9, 10, 12-21). Plaintiffs are informed and

believe and allege that when BALDWIN started this by posting, he knew or should have known it

would happen, and he sat back in his Manhattan penthouse and watched it unfold.

       44.     As set forth herein, Defendant violated the law by invading Plaintiff JIENNAH’s

right to privacy by publishing his false allegations to his 2.4 million like-minded followers on

Instagram. The allegation constitutes such a major misrepresentation of the Plaintiff’s character,

history, activities, and beliefs that serious offense may reasonably be expected to be taken by any

reasonable person in the Plaintiffs’ position.

                                                 - 15 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 16 of 37




       45.     BALDWIN violated the law by invading Plaintiffs’ right to privacy by publishing

private information in addition to providing information in the message chain that easily allowed

2.4 million of his rabid followers to track down other private information about the lives of the

Plaintiffs putting them in fear for their safety and security.

       46.     JIENNAH also suffered damages based upon BALDWIN’s invasion of privacy by

intrusion into her private affairs. BALDWIN intentionally intruded upon the solitude or seclusion,

private affairs or concerns of JIENNAH. BALDWIN’s intrusion was substantial, and of a kind

that would be highly offensive to an ordinarily reasonable person; and the intrusion caused

JIENNAH to sustain injury, damage, loss or harm.

       47.     Due to Defendant’s violation of Plaintiffs’ rights of privacy by committing the tort

of Invasion of Privacy by intrusion upon seclusion and false light under Wyoming law, Plaintiffs

have been damaged in an amount to be determined at trial, but in all events not less than seventy-

five thousand dollars ($75,000.00), exclusive of punitive and exemplary damages.

       48.     In addition, Plaintiffs hereby requests an award of punitive damages, in an amount

to be determined at trial, due to Defendant’s knowing and intentional violation of their rights to

privacy.

                       JIENNAH MCCOLLUM SECOND CAUSE OF ACTION
                    (Defamation, Defamation Per Se, and Defamation by Implication)

       49.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       50.     JIENNAH is a private figure who never voluntarily injected herself into any public

controversy. As detailed throughout this Complaint, Defendant published false allegations

pertaining to JIENNAH. BALDWIN made this false and defamatory communication concerning

JIENNAH via an unprivileged publication to third parties; namely, his 2.4 million Instagram

                                                - 16 -
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 17 of 37




followers. JINNEAH is informed and believes and alleges that at the time of the publication

BALDWIN knew that his statements were false or acted in reckless disregard as to their falsity.

Alternatively, BALDWIN acted negligently in failing to ascertain whether the communication was

false.

         51.     Defendant’s publication constitutes a representation that Plaintiffs were “January 6

rioters,” “insurrectionists,” and “participated in the insurrection.” As evidenced by the followers’

responses to BALDWIN’s allegations, the implication in this false statement is that Plaintiffs are

rioters, traitors, racists, or white supremacists who sought to overthrow the United States

democracy. They are accused of being “terrorists” who “made a mockery of [LCPL McCollum’s]

sacrifice.” (Exhibit 1, p. 9, 10, 12-21).

         52.     As BALDWIN put it: “Your activities resulted in the unlawful destruction of

government property, the death of a law enforcement officer, an assault on the certification of the

presidential election. I reposted your photo. Good luck.” (Exhibit 1, p. 2).

         53.     After BALDWIN’s social media mob began attacking, BALDWIN doubled down:

“I gratefully supported the gofundme campaign while simultaneously not knowing the woman I

approached [JIENNAH MCOLLUM] is an insurrectionist. I think that’s…remarkable.” (Exhibit

1, p. 8). 4

         54.     Plaintiffs are informed and believe and allege that BALDWIN in publishing

ROICE’S Instagram feed and the exchange between her and BALDWIN, it was Defendant’s

intention to create a false impression to the general public that Plaintiffs were guilty of a crime

against their country, that they wanted the United States government overthrown, and that they


4
  To be accurate, although Baldwin says he supported the GoFundMe campaign, he actually sent a check to Roice
intended for Jiennah and LRRM. He did not donate directly to the GoFundMe account. Plaintiffs believe that this
difference is likely semantic in Baldwin’s mind, however.


                                                    - 17 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 18 of 37




committed violent acts on January 6, 2021, at the United States Capitol Building. These beliefs

and conduct were actually imputed to JIENNAH by implication as evidenced by BALDWIN’s

followers’ vile messages. Plaintiffs are informed and believe and allege that BALDWIN true to

BALDWIN’S intentions and motive, his followers in fact believed him, followed his lead, and

began a vile onslaught of Plaintiffs.

        55.     BALDWIN’s statement that JIENNAH is an “insurrectionist” imputes a criminal

offense; namely, participation in a rebellion and uprising against the United States Government.

(Exhibit 1, p. 8). This offense under 18 U.S. Code § 2383 carries a fine, prison sentence of not

more than 10 years, or both, and precludes any person guilty of the offense from holding any office

under the United States. This crime is regarded in public opinion as involving moral turpitude;

that is inherent baseness or vileness of principle in the human heart and shameful wickedness and

such an extreme a departure from ordinary standards of honesty, good morals, justice or ethics as

to be shocking to the moral sense of the community. BALDWIN’S statement is defamatory on its

face and, therefore, actionable without proof of special damages.

        56.     Plaintiffs are informed and believe and allege that BALDWIN at the very least, was

negligent in publishing the posts because he knew, or should have known, that JIENNAH was not

a rioter or insurrectionist. Plaintiffs are informed and believe and allege that BALDWIN as he has

done time and time again in his very public life, made an impulsive, snap to judgment and acted

vindictively at the expense people less powerful and influential than him. In this case it was all

Plaintiffs.

        57.     Plaintiffs are informed and believe and allege that BALDWIN despite Defendant’s

knowledge and awareness of these facts, BALDWIN nevertheless made the decision to publish

the Instagram feed so he could massage his ego by signaling that he had “privately” donated money



                                              - 18 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 19 of 37




to JIENNAH and her unborn child while simultaneously unleashing his 2.4 million like-minded

followers on Plaintiffs.

       58.     Defendant’s publication constitutes defamation under Wyoming law because said

publication falsely accuses JIENNAH of having acted in a manner – i.e., taking part in an

“insurrection” - which would and actually did subject JIENNAH to hatred, shame, obloquy, odium,

contempt, ridicule, aversion, ostracism, degradation, or disgrace, and/or could induce an evil

opinion of JIENNAH in the minds of right-thinking persons, and/or could deprive JIENNAH of

confidence and friendly intercourse in society.

       59.     JIENNAH has indeed suffered hate, shame, ridicule, threats, and lives in fear for

her life and the life of her child. Her sense of security and anonymity has been violated. Moreover,

JIENNAH has been dragged into these awful circumstances during the worst time of her life; while

grieving the loss of her husband and the father of her child, LCPL McCollum. JIENNAH suffers

and continues to struggle with the overwhelming grief caused by the killing of LCPL McCOLLUM

and BALDWIN’s selfish actions have exacerbated and prolonged that pain in a very public,

extremely traumatic way.

       60.     Defendant’s publication caused JIENNAH to suffer damages in an amount to be

determined at trial, but in all events in an amount not less than seventy-five thousand ($75,000),

exclusive of punitive and exemplary damages.

                       JIENNAH MCCOLLUM THIRD CAUSE OF ACTION
                              (Negligence and Gross Negligence)

       61.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       62.     Defendant was negligent in his posting of ROICE’s Instagram feed, posting

allegations that she was “an insurrectionist” and “participated in the insurrection.” BALDWIN

                                               - 19 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 20 of 37




had a duty to refrain from conduct that would cause injury to JIENNAH, yet he violated that duty

without hesitation. He further assumed a duty of care when he chose to communicate with all 2.4

million of his followers concerning JIENNAH. He violated that duty by failing to check his facts

prior to leveling his allegations and giving his followers implicit instructions to shame and attack

JIENNAH.

        63.       The social media onslaught of hatred and bile that ensued was entirely foreseeable

to BALDWIN and any reasonably careful person under similar or the same circumstances as

BALDWIN would have anticipated the mental anguish and suffering and the physical

manifestation of that mental pain that would result in his conduct. Those violations were the

proximate cause of the harm and great emotional pain JIENNAH suffered when she was exposed

to the wrath of BALDWIN’s Instagram followers.

        64.       Defendant’s continued participation in the Instagram comments served to fire up

his most vicious supporters. His participation constitutes ongoing tortious conduct.

        65.       Pleading further, BALDWIN’s conduct constitutes a conscious and voluntary

disregard of the need to use reasonable care, which was highly likely to cause foreseeable grave

injury or harm to JIENNAH. In short, he acted recklessly in spite of knowing the consequences

of his actions.

        66.       His conduct is extreme when compared to ordinary negligence standards.

BALDWIN acted in a grossly negligent manner by posting ROICE’s Instagram feed along with

his accusation that Plaintiffs were insurrectionists.

        67.       As a result of Defendant’s negligence, JIENNAH has suffered damages in an

amount to be determined at trial, but which in all events are in excess of seventy-five thousand

dollars ($75,000), exclusive of punitive and exemplary damages.



                                                - 20 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 21 of 37




                      JIENNAH MCCOLLUM FOURTH CAUSE OF ACTION
                           (Intentional Infliction of Emotional Distress)

       68.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       69.     Plaintiffs are informed and believe and allege that BALDWIN’s extreme and

outrageous conduct intentionally or recklessly caused severe emotional distress to JIENNAH.

       70.     BALDWIN’s conduct is beyond all possible bounds of decency, and is atrocious,

and utterly intolerable in a civilized community. His conduct caused JIENNAH to suffer highly

unpleasant mental reactions, such as fright, horror, grief, shame, humiliation, embarrassment,

anger, chagrin, disappointment, worry, and nausea so severe that no reasonable person could be

expected to endure it. JIENNAH lost her hero, husband, and the father of her child when she was

over eight months pregnant. LCPL McCOLLUM died in the voluntary service of his country and

the trauma of that loss is incomprehensible.

       71.     BALDWIN knew this and, as an adult, presumably would expect the death of a 20-

year-old brother, son, husband, Marine, and father-to-be less than four months ago to have far-

reaching, deep seated, catastrophic consequences in the lives of his loved ones, including

JIENNAH, his widow. In spite of this, he invited 2.4 million people to attack, threaten, and shame

the McCollum family. He forced them to relive the death of LCPL McCOLLUM in the most

public way possible in today’s social media-driven world.

       72.     Plaintiffs loved, admired, and respected LCPL McCOLLUM and saw him as the

embodiment of all of their collective values. JIENNAH’s affection for her husband never wavered

and, in fact, was strengthened in knowing that he was deployed in a place where American

exceptionalism and democracy could take root and grow. BALDWIN’s unfounded, cruel, hasty,

and patently false accusations he flippantly published to 2.4 million people who he knew or should

                                               - 21 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 22 of 37




have known would be inspired to attack JIENNAH was extreme and outrageous and caused and

continues to cause severe emotional distress, anxiety, and fear to JIENNAH. Defendant is guilty

of intentionally inflicting emotional distress on JIENNAH.

                     CHEYENNE MCCOLLUM FIRST CAUSE OF ACTION
                  (Invasion of Privacy – False Light and Intrusion Upon Seclusion)

       73.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       74.     Plaintiff CHEYENNE McCollum has reviewed the Instagram posts question and

has positively identified herself as the person about whom and to whom the posts were made.

CHEYENNE is not and has never been a rioter, insurrectionist, or terrorist. CHEYENNE was not

present at and did not participate in the January 6, 2021, rioting, invasion of the Capitol Building,

or any other illegal conduct perpetrated by the small minority of individuals in attendance in

Washington D.C. and/or the Capitol Building on that day. BALDWIN’s accusations are patently

false and unreasonably placed CHEYENNE in a false light before the public. The posts from his

followers in response to his are direct evidence of this false light. Shortly after BALDWIN’s “good

luck” post, all Plaintiffs were accused of being associated with ISIS, being terrorists, rioters, anti-

American, and the list continues. (Exhibit 1, p. 9, 10, 12-21). Plaintiffs are informed and believe

and allege that when BALDWIN started this by posting, he knew or should have known it would

happen, and he sat back in his Manhattan penthouse and watched it unfold.

       75.     As set forth herein, Defendant violated the law by invading Plaintiff CHEYENNE’s

right to privacy by publishing his false allegations to his 2.4 million like-minded followers on

Instagram. The allegation constitutes such a major misrepresentation of the Plaintiff’s character,

history, activities, and beliefs that serious offense may reasonably be expected to be taken by any

reasonable person in the Plaintiffs’ position.

                                                 - 22 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 23 of 37




        76.     BALDWIN violated the law by invading Plaintiffs’ right to privacy by publishing

private information in addition to providing information in the message chain that easily allowed

2.4 million of his rabid followers to track down other private information about the lives of the

Plaintiffs putting them in fear for their safety and security.

        77.     CHEYENNE also suffered damages based upon BALDWIN’s invasion of privacy

by intrusion into her private affairs. BALDWIN intentionally intruded upon the solitude or

seclusion, private affairs or concerns of CHEYENNE. BALDWIN’s intrusion was substantial,

and of a kind that would be highly offensive to an ordinarily reasonable person; and the intrusion

caused CHEYENNE to sustain injury, damage, loss or harm.

        78.     Due to Defendant’s violation of Plaintiffs’ rights of privacy by committing the tort

of Invasion of Privacy by intrusion upon seclusion and false light under Wyoming law,

CHEYENNE has been damaged in an amount to be determined at trial, but in all events not less

than seventy-five thousand dollars ($75,000.00), exclusive of punitive and exemplary damages.

79.        In addition, Plaintiffs hereby requests an award of punitive damages, in an amount to be

determined at trial, due to Defendant’s knowing and intentional violation of their rights to privacy.

                    CHEYENNE MCCOLLUM SECOND CAUSE OF ACTION
                  (Defamation, Defamation Per Se, and Defamation by Implication)

        80.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

        81.     CHEYENNE is a private figure who never voluntarily injected herself into any

public controversy. As detailed throughout this Complaint, Defendant published false allegations

pertaining to Plaintiffs. BALDWIN made this false and defamatory communication concerning

CHEYENNE via an unprivileged publication to a third parties; namely, his 2.4 million Instagram

followers. CHEYENNE is informed and believes and alleges that at the time of the publication

                                                 - 23 -
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 24 of 37




BALDWIN knew that his statements were false or acted in reckless disregard as to their falsity.

Alternatively, BALDWIN acted negligently in failing to ascertain whether the communication was

false.

         82.     Defendant’s publication constitutes a representation that Plaintiffs were “January 6

rioters,” “insurrectionists,” and “participated in the insurrection.” As evidenced by the followers’

responses to BALDWIN’s allegations, the implication in this false statement is that Plaintiffs are

rioters, traitors, racists, or white supremacists who sought to overthrow the United States

democracy. They are accused of being “terrorists” who “made a mockery of [LCPL McCollum’s]

sacrifice.” (Exhibit 1, p. 9, 10, 12-21).

         83.     As BALDWIN put it: “Your activities resulted in the unlawful destruction of

government property, the death of a law enforcement officer, an assault on the certification of the

presidential election. I reposted your photo. Good luck.” (Exhibit 1, p. 2).

         84.     After BALDWIN’s social media mob began attacking, BALDWIN doubled down:

“I gratefully supported the gofundme campaign while simultaneously not knowing the woman I

approached [JIENNAH MCOLLUM] is an insurrectionist. I think that’s…remarkable.” (Exhibit

1, p. 8). 5

         85.     Plaintiffs are informed and believe and allege that BALDWIN in publishing

ROICE’S Instagram feed and the exchange between her and BALDWIN, it was Defendant’s

intention to create a false impression to the general public that Plaintiffs were guilty of a crime

against their country, that they wanted the United States government overthrown, and that they

committed violent acts on January 6, 2021, at the United States Capitol Building. These beliefs


5
  To be accurate, although Baldwin says he supported the GoFundMe campaign, he actually sent a check to Roice
intended for Jiennah and LRRM. He did not donate directly to the GoFundMe account. Plaintiffs believe that this
difference is likely semantic in Baldwin’s mind, however.


                                                    - 24 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 25 of 37




and conduct were actually imputed to CHEYENNE by implication as evidenced by BALDWIN’s

followers’ vile messages. Plaintiffs are informed and believe and allege that BALDWIN true to

BALDWIN’S intentions and motive, his followers in fact believed him, followed his lead, and

began a vile onslaught of Plaintiffs.

        86.     BALDWIN’s statement imputes a criminal offense; namely, participation in a

rebellion and uprising against the United States Government. (Exhibit 1, p. 8). This offense under

18 U.S. Code § 2383 carries a fine, prison sentence of not more than 10 years, or both, and

precludes any person guilty of the offense from holding any office under the United States. This

crime is regarded in public opinion as involving moral turpitude; that is inherent baseness or

vileness of principle in the human heart and shameful wickedness and such an extreme a departure

from ordinary standards of honesty, good morals, justice or ethics as to be shocking to the moral

sense of the community. BALDWIN’S statement is defamatory on its face and, therefore,

actionable without proof of special damages.

        87.     Plaintiffs are informed and believe and allege that BALDWIN at the very least, was

negligent in publishing the posts because he knew, or should have known, that Plaintiffs were not

rioters, insurrectionists, racists, or white supremacists. He simply assumed that the woman in the

original picture posted by ROICE was a picture of Plaintiff ROICE (it was not) and that she was

guilty of rioting in the Capitol Building. Plaintiffs are informed and believe and allege that

BALDWIN as he has done time and time again in his very public life, made an impulsive, snap to

judgment and acted vindictively at the expense people less powerful and influential than him. In

this case it was all Plaintiffs.

        88.     Plaintiffs are informed and believe and allege that BALDWIN despite Defendant’s

knowledge and awareness of these facts, BALDWIN nevertheless made the decision to publish



                                               - 25 -
             Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 26 of 37




the Instagram feed so he could massage his ego by signaling that he had “privately” donated money

to JIENNAH and her unborn child while simultaneously unleashing his 2.4 million like-minded

followers on Plaintiffs.

       89.     Defendant’s publication constitutes defamation under Wyoming law because said

publication falsely accuses CHEYENNE of having acted in a manner – i.e., taking part in an

“insurrection” and being a “January 6 rioter” - which would and actually did subject CHEYENNE

to hatred, shame, obloquy, odium, contempt, ridicule, aversion, ostracism, degradation, or

disgrace, and/or could induce an evil opinion of CHEYENNE in the minds of right-thinking

persons, and/or could deprive CHEYENNE of confidence and friendly intercourse in society.

       90.     CHEYENNE has indeed suffered hate, shame, ridicule, threats, and lives in fear for

her life. Her sense of security and anonymity has been violated. Moreover, CHEYENNE has been

dragged into these awful circumstances during the worst time of her life; while grieving the loss

of her brother, LCPL McCollum. CHEYENNE suffers and continues to struggle with the

overwhelming grief caused by the killing of LCPL McCOLLUM and BALDWIN’s selfish actions

have exacerbated and prolonged that pain in a very public, extremely traumatic way.

       91.     Defendant’s publication caused CHEYENNE to suffer damages in an amount to be

determined at trial, but in all events in an amount not less than seventy-five thousand ($75,000),

exclusive of punitive and exemplary damages.

                  CHEYENNE MCCOLLUM THIRD CAUSE OF ACTION
                         (Negligence and Gross Negligence)

       92.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       93.     Defendant was negligent in his posting of ROICE’s Instagram feed, posting

allegations that she was “an insurrectionist” and “participated in the insurrection.” BALDWIN

                                               - 26 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 27 of 37




had a duty to refrain from conduct that would cause injury to CHEYENNE, yet he violated that

duty without hesitation. He further assumed a duty of care when he chose to communicate with

all 2.4 million of his followers concerning CHEYENNE. He violated that duty by failing to check

his facts prior to leveling his allegations and giving his followers implicit instructions to shame

and attack CHEYENNE.

        94.       The social media onslaught of hatred and bile that ensued was entirely foreseeable

to BALDWIN and any reasonably careful person under similar or the same circumstances as

BALDWIN would have anticipated the mental anguish and suffering and the physical

manifestation of that mental pain that would result in his conduct. Those violations were the

proximate cause of the harm CHEYENNE suffered when she was exposed to the wrath of

BALDWIN’s Instagram followers.

        95.       Defendant’s continued participation in the Instagram comments served to fire up

his most vicious supporters. His participation constitutes ongoing tortious conduct.

        96.       Pleading further, BALDWIN’s conduct constitutes a conscious and voluntary

disregard of the need to use reasonable care, which was highly likely to cause foreseeable grave

injury or harm to CHEYENNE. In short, he acted recklessly in spite of knowing the consequences

of his actions.

        97.       His conduct is extreme when compared to ordinary negligence standards.

BALDWIN acted in a grossly negligent manner by posting ROICE’s Instagram feed along with

his accusation that Plaintiffs were insurrectionists.

        98.       As a result of Defendant’s negligence, CHEYENNE has suffered damages in an

amount to be determined at trial, but which in all events are in excess of seventy-five thousand

dollars ($75,000), exclusive of punitive and exemplary damages.



                                                - 27 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 28 of 37




                 CHEYENNE MCCOLLUM FOURTH CAUSE OF ACTION
                      (Intentional Infliction of Emotional Distress)

       99.      Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       100.     Plaintiffs are informed and believe and allege that BALDWIN’s extreme and

outrageous conduct intentionally or recklessly caused severe emotional distress to CHEYENNE.

       101.     BALDWIN’s conduct is beyond all possible bounds of decency, and is atrocious,

and utterly intolerable in a civilized community. His conduct caused CHEYENNE to suffer highly

unpleasant mental reactions, such as fright, horror, grief, shame, humiliation, embarrassment,

anger, chagrin, disappointment, worry, and nausea so severe that no reasonable person could be

expected to endure it. CHEYENNE lost her hero and brother. LCPL McCOLLUM died in the

voluntary service of his country and the trauma of that loss is incomprehensible.

       102.     BALDWIN knew this and, as an adult, presumably would expect the death of a 20-

year-old brother, son, husband, Marine, and father-to-be less than four months ago to have far-

reaching, deep seated, catastrophic consequences in the lives of his loved ones, including

CHEYENNE, his sister. In spite of this, he invited 2.4 million people to attack, threaten, and

shame the McCollum family. He forced them to relive the death of LCPL McCOLLUM in the

most public way possible in today’s social media-driven world.

       103.     Plaintiffs loved, admired, and respected LCPL McCOLLUM and saw him as the

embodiment of all of their collective values. CHEYENNE’s affection for her brother never

wavered and, in fact, was strengthened in knowing that he was deployed in a place where American

exceptionalism and democracy could take root and grow. BALDWIN’s unfounded, cruel, hasty,

and patently false accusations he flippantly published to 2.4 million people who he knew or should

have known would be inspired to attack CHEYENNE was extreme and outrageous and caused and

                                               - 28 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 29 of 37




continues to cause severe emotional distress, anxiety, and fear to CHEYENNE. Defendant is guilty

of intentionally inflicting emotional distress on CHEYENNE.

                     ROICE MCCOLLUM FIRST CAUSE OF ACTION
               (Invasion of Privacy – False Light and Intrusion Upon Seclusion)

       104.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

       105.     ROICE has reviewed the Instagram posts question and has positively identified

herself as the persons about whom and to whom the posts were made. ROICE is not and has never

been a rioter, insurrectionist or terrorist. ROICE did not participate in the January 6, 2021, rioting,

invasion of the Capitol Building, or any other illegal conduct perpetrated by the small minority of

individuals in attendance in Washington D.C. and/or the Capitol Building on that day and was

cleared of any wrongdoing by the FBI. She was never detained, arrested, charged with or convicted

of any crime associated with her attendance at the January 6, 2021, event in Washington, D.C.

BALDWIN’s accusations are patently false and unreasonably placed ROICE in a false light before

the public. The posts in response to his are direct evidence of this false light. Shortly after

BALDWIN’s “good luck” post, Plaintiffs were accused of being associated with ISIS, being

terrorists, rioters, anti-American, and the list continues. (Exhibit 1, p. 9, 10, 12-21). Plaintiffs are

informed and believe and allege that when BALDWIN started this, he knew or should have known

it would happen, and he sat back in his Manhattan penthouse and watched it unfold.

       106.     As set forth herein, Defendant violated the law by invading Plaintiffs’ right to

privacy by publishing his false allegations to his 2.4 million like-minded followers on Instagram.

The allegation constitutes such a major misrepresentation of the Plaintiffs’ character, history,

activities, and beliefs that serious offense may reasonably be expected to be taken by any

reasonable person in the Plaintiffs’ position.

                                                 - 29 -
                Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 30 of 37




         107.     BALDWIN violated the law by invading Plaintiffs’ right to privacy by publishing

private information in addition to providing information in the message chain that easily allowed

2.4 million of his rabid followers to track down other private information about the lives of the

Plaintiffs putting them in fear for their safety and security.

         108.     Due to Defendant’s violation of Plaintiffs’ rights of privacy by committing the tort

of Invasion of Privacy by intrusion upon seclusion and false light under Wyoming law, Plaintiffs

have been damaged in an amount to be determined at trial, but in all events not less than seventy-

five thousand dollars ($75,000.00), exclusive of punitive and exemplary damages.

         109.     In addition, Plaintiffs hereby requests an award of punitive damages, in an amount

to be determined at trial, due to Defendant’s knowing and intentional violation of their rights to

privacy.

                      ROICE MCCOLLUM SECOND CAUSE OF ACTION
                 (Defamation, Defamation Per Se and Defamation by Implication)

         110.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

         111.     As detailed throughout this Complaint, Defendant published false allegations

pertaining to Plaintiffs. ROICE is a private figure who never voluntarily injected herself into any

public controversy. As detailed throughout this Complaint, Defendant published false allegations

pertaining to Plaintiffs. BALDWIN made this false and defamatory communication concerning

ROICE via an unprivileged publication to a third parties; namely, his 2.4 million Instagram

followers. ROICE is informed and believes and alleges that at the time of the publication

BALDWIN knew that his statements were false or acted in reckless disregard as to their falsity.

Alternatively, BALDWIN acted negligently in failing to ascertain whether the communication was

false.

                                                 - 30 -
                 Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 31 of 37




          112.     Alternatively, even if ROICE can be deemed to be a “limited public figure” for

purposes of this lawsuit, Plaintiffs are informed and believe and allege that BALDWIN acted with

actual malice when he posted what he believed was ROICE’s image on her Instagram feed to his

2.4 million followers and continued labelling her an “insurrectionist.” As BALDWIN put it to

ROICE: “Your activities resulted in the unlawful destruction of government property, the death of

a law enforcement officer, an assault on the certification of the presidential election. I reposted

your photo. Good luck.” (Exhibit 1, p. 2).

          113.     Defendant’s publication constitutes a representation that ROICE was a “January 6

rioters,” “insurrectionist,” and “participated in the insurrection.” As evidenced by the followers’

responses to BALDWIN’s allegations, the implication in this false statement is that ROICE is a

rioter and a traitor who sought to overthrow the United States democracy. All Plaintiffs are accused

of being “terrorists” who “made a mockery of [LCPL McCollum’s] sacrifice.” (Exhibit 1, p. 9, 10,

12-21).

          114.     None of these representations are true. In fact, Plaintiffs are none of those things;

however, BALDWIN’s allegation imputes that conduct to all Plaintiffs., including ROICE who

received dozens of hateful messages as she simply attempted to defend her family from

BALDWIN’s followers.

          115.     Plaintiffs are informed and believe and allege that BALDWIN in publishing

ROICE’S Instagram feed and the exchange between her and BALDWIN, it was Defendant’s

intention to create a false impression to the general public that ROICE was guilty of a crime against

her country, that she wanted the United States government overthrown, and that she committed

violent acts on January 6, 2021, at the United States Capitol Building. These beliefs and conduct

were actually imputed to ROICE by implication as evidenced by BALDWIN’s followers’ vile



                                                  - 31 -
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 32 of 37




messages. Plaintiffs are informed and believe and allege that BALDWIN true to BALDWIN’S

intentions and motive, his followers in fact believed him, followed his lead, and began a vile

onslaught of Plaintiffs.

        116.     BALDWIN’s statement that ROICE is an “insurrectionist” imputes a criminal

offense; namely, participation in a rebellion and uprising against the United States Government.

(Exhibit 1, p. 4). This offense under 18 U.S. Code § 2383 carries a fine, prison sentence of not

more than 10 years, or both, and precludes any person guilty of the offense from holding any office

under the United States. This crime is regarded in public opinion as involving moral turpitude;

that is inherent baseness or vileness of principle in the human heart and shameful wickedness and

such an extreme a departure from ordinary standards of honesty, good morals, justice or ethics as

to be shocking to the moral sense of the community. BALDWIN’S statement is defamatory on its

face and, therefore, actionable without proof of special damages.

        117.     Plaintiffs are informed and believe and allege that BALDWIN at the very least,

Defendant was negligent in publishing the posts because he knew, or should have known, that

Plaintiffs were not rioters, insurrectionists, racists, or white supremacists. He simply assumed that

the woman in the original picture posted by ROICE was a picture of Plaintiff ROICE (it was not)

and that she was guilty of rioting in the Capitol Building. Plaintiffs are informed and believe and

allege that BALDWIN as he has done time and time again in his very public life, BALDWIN made

an impulsive, snap to judgment and acted vindictively at the expense people less powerful and

influential than him. In this case it was all Plaintiffs.

        118.     In the alternative, Plaintiffs are informed and believe and allege that BALDWIN

published the messages with actual malice because he knew, or should have known, that doing so

would result in an avalanche of violently negative attacks on Plaintiffs. Plaintiffs are informed



                                                 - 32 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 33 of 37




and believe and allege that BALDWIN intended the harm he caused because he believes that every

person present at the Capitol demonstration on January 6, 2021, is an unrepentant rioter wanting

to overturn the United States democracy. BALDWIN fits the pattern of any run-of-the-mill bully:

BALDWIN is absolutely certain that he is right, and every demonstrator (even the peaceful ones)

are wrong. Plaintiffs are informed and believe and allege that BALDWIN both intended and

endorsed the reference to Plaintiffs as insurrectionists and the implications such an accusation

would create in his followers’ minds. Pleading further, he knew what would happen once he posted

ROICE’s feed and labelled her an insurrectionist. As he put it, “good luck.” (Exhibit 1, p. 2).

       119.     Plaintiffs are informed and believe and allege that BALDWIN despite Defendant’s

knowledge and awareness of these facts, BALDWIN nevertheless made the decision to publish

the Instagram feed so he could massage his ego by signaling that he had “privately” donated money

to JIENNAH and her unborn child while simultaneously unleashing his 2.4 million like-minded

followers on Plaintiffs.

       120.     Defendant’s publication constitutes defamation under Wyoming law because said

publication falsely accuses Plaintiffs of having acted in a manner – i.e., taking part in an

“insurrection” and being a “January 6 rioter” - which would and actually did subject Plaintiffs to

hatred, shame, obloquy, odium, contempt, ridicule, aversion, ostracism, degradation, or disgrace,

and/or could induce an evil opinion of Plaintiffs in the minds of right-thinking persons, and/or

could deprive each Plaintiffs of confidence and friendly intercourse in society.

       121.     Plaintiffs have indeed suffered hate, shame, ridicule, threats, and live in fear for

their lives. Plaintiffs have been confronted by strangers in public places such as grocery stores

and parking lots by people accusing them of being “insurrectionists.” They continue to receive

threats via social media. Their sense of security and anonymity have been violated. Moreover,



                                               - 33 -
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 34 of 37




Plaintiffs have been dragged into these awful circumstances during the worst time of their lives;

while grieving the loss of LCPL McCollum. Plaintiffs suffer and continue to struggle with the

overwhelming grief caused by the murder of LCPL McCOLLUM and BALDWIN’s selfish actions

have exacerbated and prolonged that pain in a very public, extremely traumatic way.

        122.     Defendant’s publication likewise constitutes defamation under Wyoming law

because the publication would tend to injure each Plaintiffs in their trades, businesses, and

professions.

        123.     Defendant’s publication caused Plaintiffs to suffer damages in an amount to be

determined at trial, but in all events in an amount not less than seventy-five thousand ($75,000),

exclusive of punitive and exemplary damages.

                      ROICE MCCOLLUM THIRD CAUSE OF ACTION
                            (Negligence and Gross Negligence)

        124.     Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

        125.     Defendant was negligent in his posting of ROICE’s Instagram feed, posting

allegations that she was “an insurrectionist” and “participated in the insurrection.” BALDWIN

had a duty to refrain from conduct that would cause injury to Plaintiffs, yet he violated that duty

without hesitation. He further assumed a duty of care when he chose to communicate with all 2.4

million of his followers concerning the Plaintiffs. He violated that duty by failing to check his

facts prior to leveling his allegations and giving his followers implicit instructions to shame and

attack Plaintiffs.

        126.     Those violations were the proximate cause of the harm Plaintiffs suffered when

they were exposed to the wrath of BALDWIN’s Instagram followers.

        127.     Defendant’s continued participation in the Instagram comments served to fire up

                                               - 34 -
               Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 35 of 37




his most vicious supporters. His participation constitutes ongoing tortious conduct.

       128.       Pleading further, BALDWIN’s conduct constitutes a conscious and voluntary

disregard of the need to use reasonable care, which was highly likely to cause foreseeable grave

injury or harm to Plaintiffs. In short, he acted recklessly in spite of knowing the consequences of

his actions.

       129.       His conduct is extreme when compared to ordinary negligence standards.

BALDWIN acted in a grossly negligent manner by posting ROICE’s Instagram feed along with

his accusation that Plaintiffs were insurrectionists.

       130.       As a result of Defendant’s negligence, ROICE has suffered damages in an amount

to be determined at trial, but which in all events are in excess of seventy-five thousand dollars

($75,000), exclusive of punitive and exemplary damages.

                      ROICE MCCOLLUM FOURTH CAUSE OF ACTION
                          (Intentional Infliction of Emotional Distress)

        131.      Plaintiffs hereby repeat and re-allege each and every allegation set forth in the

preceding paragraphs as if fully set forth herein.

        132.      Plaintiffs are informed and believe and allege that BALDWIN’s extreme and

outrageous conduct intentionally or recklessly caused severe emotional distress to Plaintiffs.

        133.      BALDWIN’s conduct is beyond all possible bounds of decency, and is atrocious,

and utterly intolerable in a civilized community. His conduct caused Plaintiffs to suffer highly

unpleasant mental reactions, such as fright, horror, grief, shame, humiliation, embarrassment,

anger, chagrin, disappointment, worry, and nausea so severe that no reasonable person could be

expected to endure it. Plaintiffs lost their hero. LCPL McCOLLUM died in the voluntary service

of his country.

        134.      BALDWIN knew this and, as an adult, presumably would expect the death of a 20-

                                                - 35 -
              Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 36 of 37




year-old brother, son, husband, Marine, and father-to-be less than four months ago to have far-

reaching, deep seated, catastrophic consequences in the lives of his loved ones. In spite of this, he

invited 2.4 million people to attack, threaten, and shame the McCollum family. He forced them to

relive the death of LCPL McCOLLUM in the most public way possible in today’s social media-

driven world.

       135.     Plaintiffs loved, admired, and respected LCPL McCOLLUM and saw him as the

embodiment of all of their collective values. ROICE’s affection for her brother never wavered

and, in fact, was strengthened in knowing that he was deployed in a place where American

exceptionalism and democracy could take root and grow. It was that love and affection for her

brother and her pride in his service to his country that inspired ROICE to exercise her

Constitutional right to free assembly and free speech on January 6, 2021. None of the Plaintiffs

are rioters, insurrectionists, or traitors. BALDWIN’s unfounded, cruel, hasty, and patently false

accusations he flippantly published to 2.4 million people who he knew or should have known

would be inspired to attack Plaintiffs was extreme and outrageous and caused and continues to

cause severe emotional distress, anxiety, and fear to all Plaintiffs.       Defendant is guilty of

intentionally inflicting emotional distress on Plaintiffs

                                  DEMAND FOR JURY TRIAL

       136.     Plaintiffs demand a trial by jury.

                                     PRAYER FOR RELIEF

       137.     Plaintiffs respectfully request Judgment in their favor and against Defendant as

follows:

       (a) For substantial compensatory damages in an amount not less than ten million dollars

($10,000,000.00), relating to Plaintiffs’ causes of action;



                                                - 36 -
           Case 0:22-cv-00008 Document 1 Filed 01/17/22 Page 37 of 37




       (b) For punitive damages, in an amount not less than fifteen million dollars

($15,000,000.00);

       (c) For all costs and attorneys’ fees incurred by Plaintiffs in the prosecution of this lawsuit;

       (d) For such other and further relief as the Court may deem just and proper.

Dated: Austin, Texas
       January 17, 2022
                                              Respectfully submitted,

                                              THE CASAS LAW FIRM, P.C.

                                              3801 North Capital of Texas Highway,
                                              Suite E240, #445
                                              Austin, Texas 78746
                                              (512) 806-7699 Office
                                              (855) 220-9626 Fax
                                              dennis@talentrights.law

                                              /s/ Dennis C. Postiglione
                                              ________________________________
                                              Dennis C. Postiglione (pro hac vice pending)
                                              Texas State Bar No. 24041711


                                              /s/ Joseph N. Casas
                                              ________________________________
                                              Joseph N. Casas (pro hac vice pending)
                                              joseph@talentrights.law
                                              California State Bar No. 225800
                                              Illinois State Bar No. 6274674

                                              ATTORNEYS FOR PLAINTIFFS

and
                                              /s/ Frank Chapman
                                              ________________________________
                                              Frank Chapman, Esq.
                                              Of Counsel
                                              Chapman, Valez, and Lansing
                                              125 W. Second Street
                                              Casper, Wyoming 82601

                                              LOCAL COUNSEL FOR PLAINTIFFS

                                                - 37 -
